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8 UNITED STATES DISTRICT COURT | Oe =
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9 FOR THE CENTRAL DISTRICT OF CALIFORNIA i Se &

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10 || UNITED STATES OF AMERICA,

11 Plaintiff, INFORMATION

12 Vv. [18 U.S.C. § 1349: Conspiracy
to Commit Wire Fraud; 18 U.S.C.

13 || JEFFREY YOHAT, . § 1028A: Aggravated Identity
Theft]

14 Defendant.

15

16 The United States Attorney charges:

|

17 COUNT ONE

18 [18 U.S.C. § 1349]

19] Beginning in..or_before 2014, and_continuing through at ____

in Los Angeles County, within the

20 |} least February 24, 2017,
defendant JEFFREY

Central District of California, and elsewhere,

21
together with others known and unknown,

22 || YOHAI (“YOHAI”),
in violation of Title 18, United

conspired to commit wire fraud,

23
The object of the conspiracy was

24 || States Code, Section 1343.
25 || carried out, and to be carried out, in substance, as follows:
Defendant YOHAI and his co-conspirators would trick financial

26
27 |} institutions and wealthy individuals into providing defendant
28 || YOHAI with money by falsely indicating that he was a good credit

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risk, that the funds he sought would be used to develop

 

 

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2 || properties that would provide returns to investors or serve as
3 || collateral to lenders, and that the properties had been

4 || developed to such an extent that defendant YOHAI was eligible
5 || for progress payments. Defendant YOHAI would misdirect funds
6 |lobtained for a specified purpose and use them instead to pay

7 ||other debts, including personal expenses. Defendant YOHAI and
g ||/his co-conspirators would also lull investors and creditors into
9 || believing falsely that their money had been put to the stated
10 || purposes, and that they would soon be repaid, by lying about the
iLiistatus of projects and forging business documents. Defendant
12 || YOHAI and his co-conspirators intended to execute, and did

13 || execute, this fraudulent scheme through the use of interstate
14 || wires.

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COUNT TWO
[18 U.S.C. § 1028A]

Beginning in or before 2014, and continuing through at
least February 24, 2017, in Los Angeles County, within the
Central District of California, and elsewhere, defendant JEFFREY
YOHAI knowingly transferred, possessed, and used, without lawful
authority, a means of identification of another person, during
and in relation to a felony violation of Title 18, United States
Code, Section 1349, Conspiracy to Commit Wire Fraud, as charged

in Count One.

NICOLA T. HANNA
United States Attorney

ee

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

GEORGE S. CARDONA
Assistant United States Attorney
Chief, Major Frauds Section

 

ANDREW BROWN
Assistant United States Attorney
Major Frauds Section

 

 
